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    EXHIBIT A
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


ADRIAN HEILBUT, JESSE BRODKIN, and
ENEA MILIORIS,                                              Case No. 1:24-cv-05948-JLR-OTW

               Plaintiffs,                                  FIRST SET OF REQUESTS FOR
                                                            THE PRODUCTION OF
DAVID BREDT and GEOFFREY PITT,                              DOCUMENTS FROM PLAINTIFFS
                                                            HEILBUT, BRODKIN, AND
               Intervenor-Plaintiffs,                       MILIORIS TO ALL DEFENDANTS

          v.

CASSAVA SCIENCES, INC., REMI BARBIER,
and LINDSAY BURNS,

               Defendants.



        Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure (“FRCP”) and the

Local Rules of the United States District Court for the Southern District of New York

(“SDNY”), Plaintiffs Adrian Heilbut, Jesse Brodkin, and Enea Milioris (“Plaintiffs”), by and

through their attorneys, hereby request that Defendants Cassava Sciences, Inc., Remi Barbier,

and Lindsay Burns produce the documents requested herein that are in their possession, custody

or control, at the offices of Clarick Gueron Reisbaum, 220 Fifth Avenue, 14th Floor, New York,

NY, 10001, within thirty (30) days of service of these Requests, as required by FRCP

34(b)(2)(A).

        Under FRCP 26(e), Defendants are required to supplement their responses if additional

information becomes available. Each Request herein is made without prejudice to, or waiver of,

the rights of Plaintiffs to seek further discovery at a later date.




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                                           DEFINITIONS

        The definitions and rules of construction under Local Civil Rule 26.3 of the SDNY Local

Rules are incorporated by reference into these Requests. These definitions apply throughout

these Requests without regard to capitalization.

        1.      The term “Anti-SLAPP Action” or the “Action” shall mean the above-captioned

action, Case No. 1:24-cv-05948-JLR-OTW (SDNY).

        2.      The term “communication” shall mean the transmittal of information (in the form

of facts, ideas, inquiries or otherwise), as set forth in the SDNY Local Rules, and includes any

oral, written, or electronic utterance, notation, or statement of any nature whatsoever, draft or

final, potential or actual, by and to whomever made, including, but not limited to,

correspondence, memoranda, conversation, dialogues, discussions, interviews, consultations,

agreements, electronic messages, electronic posts, and any other understandings between or

among two or more persons, whether face-to-face or by telephone, fax, letter, email, website,

social-media service, or any other means.

        3.      The term “Complaint in Intervention” shall mean the Complaint in Intervention

filed by the Neuroscientist Plaintiffs in this Action on December 12, 2024.

        4.      The terms “concern,” “concerns,” and “concerning” as used herein shall mean

consisting of, referring to, reflecting of, regarding, relating to, or in any way logically or

factually connected with the matter, information, or document discussed or requested, whether

directly or indirectly.

        5.      The term “CP” shall mean the Citizen Petition that the Neuroscientist Plaintiffs,

through their attorney, filed with the Food and Drug Administration on August 18, 2021.

        6.      The term “CUNY” shall mean the City University of New York.




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       7.      The term “Defamation Action” shall mean the action captioned Cassava Sciences,

Inc. v. Bredt, et al., No. 22-cv-09409-GHW-OTW (SDNY).

       8.      The terms “Defendants,” “You,” and the possessive “Your” as used herein shall

mean, refer to and include Defendants Cassava Sciences, Inc., Remi Barbier, and Lindsay Burns,

individually and collectively (unless noted otherwise), and any and all parents or predecessors,

subsidiaries, affiliates and each of their present and former officers, directors, employees, agents,

attorneys and any and all persons and/or business entities acting and/or purporting to act for or

on their behalf.

       9.      The term “document” is used herein in its customary broad sense to include all

materials discoverable pursuant to the FRCP and the SDNY Local Rules, including without

limitation the following items, whether printed or reproduced by any process, or written or

produced by hand, and whether or not claimed to be privileged or otherwise excludable from

discovery, namely: notes, letters, correspondence, communications, telegrams, memoranda,

summaries or records of telephone conversations, summaries or records of personal

conversations, diaries, reports, notebooks, charts, plans, drawings, photographs, minutes or

recordings of meetings, including directors’ meetings, reports or summaries of interviews,

reports or summaries of investigations, opinions or reports of consultants, opinions of counsel,

agreements, reports or summaries of negotiations, trading slips, transaction receipts, broker

statements, brochures, pamphlets, advertisements, circulars, trade letters, press releases, drafts of

documents, data compilations, email, electronically stored data, computer tapes or disks,

computer printouts, computer directories, computer files, computer storage media, computer

software needed to produce in human-readable form the contents of said computer storage

media, instructions for using said software, and all material fixed or recorded in or on any




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medium or from which any material can be obtained, translated, or recovered, including without

limitation deleted but recoverable data, of whatever kind known to You or in Your possession,

custody or control. The term “document” also includes all drafts or copies that are not identical

to the original, including drafts or copies with handwritten notes thereon.

       10.       The term “DOJ” shall mean the U.S. Department of Justice.

       11.       The terms “employee” or “employees” of a given entity, person or party shall

include such entity’s, person’s or party’s officers, directors, executives, principals, partners,

members, managers, full-time employees, part-time employees, and any individuals working or

engaged by such entity, person or party as an independent contractor, consultant, representative,

sales representative, agent or in a similar capacity for the provision of personal services to or on

behalf of such entity, person or party.

       12.       The term “FDA” shall mean the U.S. Food and Drug Administration.

       13.       The term “First Amended Complaint” or “FAC” shall mean the First Amended

Complaint filed by Plaintiffs in this Action on October 24, 2024.

       14.       The term “Individual Defendants” shall mean Remi Barbier and Lindsay Burns.

       15.       The term “Neuroscientist Plaintiffs” shall mean Intervenor-Plaintiffs Dr. David

Bredt and Dr. Geoffrey Pitt.

       16.       The term “person” means any natural person or any legal entity, including,

without limitation, any business or governmental entity or association.

       17.       The term “Plaintiffs” shall mean Dr. Adrian Heilbut, Dr. Jesse Brodkin, and Dr.

Enea Milioris.

       18.       The term “Plaintiffs’ Website” shall mean the website with the domain,

cassavafraud.com.




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       19.     The terms “relate to,” “relates to,” “relating to,” and “related to” as used herein

shall mean referencing to (directly or indirectly), evidencing, consisting of, concerning, or

logically or factually connected with the matter discussed.

       20.     The term “Relevant Time Period” shall mean the time period from January 1,

2021, to the present.

       21.     The term “SavaDX” shall mean Cassava’s potential diagnostic to detect the

presence of Alzheimer’s disease in blood.

       22.     The term “SEC” shall mean the U.S. Securities and Exchange Commission.

       23.     The term “Securities Action” shall mean the action captioned In Re Cassava

Sciences, Inc. Securities Litigation, No. 21-cv-00751-DAE (W.D. Tex.).

       24.     The term “simufilam” shall mean Cassava’s drug candidate that was the subject of

clinical studies to treat patients with Alzheimer’s disease, as referenced in the First Amended

Complaint and the Complaint in Intervention.

                                        INSTRUCTIONS

       1.      In responding to these Requests, furnish all information that is available to You,

including information that is in the possession of any of Your present or former directors,

partners, officers, employees, trustees, agents, auditors, attorneys, or any other persons acting

and/or purporting to act for or on Your behalf or otherwise subject to Your custody or control.

       2.      For the avoidance of doubt, these Requests are intended to capture all available

means of communication used to discuss the subject matter of these Requests, including but not

limited to emails, text messages, instant messages, and social media or online posts or messages

on any forum or platform used by Defendants (e.g., Discord, Facebook, WhatsApp, Twitter/X,

PubPeer, Springer, etc.).




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       3.      Responses to these Requests shall be supplemented and/or amended to the extent

required by the FRCP. These Requests shall be deemed to impose a continuing duty upon You

to properly and timely serve upon the Plaintiffs supplemental and/or amended responses and

documents.

       4.      With respect to any documents, parts of documents or information responsive

hereto as to which You assert a claim of privilege or other immunity from discovery in

accordance with FRCP 26, You shall, unless the parties expressly agree otherwise, submit a list

identifying each such document or piece of information by stating:

            a. its type (e.g., letter, inter-office memorandum, note, etc.), subject matter, title,

               date, and the number of pages thereof;

            b. the identity of each person who participated in its preparation;

            c. the identity of each person who signed or sent the document;

            d. the identity of each person to whom the document or information was addressed,

               copied or sent;

            e. the identity of each person who received the document or information; and

            f. the basis of the claim of privilege or immunity.

       5.      In the event that any requested document is known to have existed and cannot

now be located or has been destroyed or discarded, that document shall be identified by:

            a. the last known custodian;

            b. date of destruction or discard;

            c. the manner of destruction or discard;

            d. the reason(s) for destruction or discard;

            e. as to lost or misplaced documents, the efforts made to locate such documents;




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             f. a statement describing the document, including a summary of its contents;

             g. the identity of its author(s); and

             h. the persons to whom it was sent or shown.

       6.       Each Request shall be construed independently and not with reference to any

other Request for the purpose of limitation or exclusion.

       7.       Each requested document shall be produced in its entirety, without abbreviation or

redaction, and shall include all attachments, appendices, exhibits, lists, schedules or other

documents at any time affixed thereto and all handwritten notes thereon. If a document

responsive to any Request cannot be produced in full, it shall be produced to the extent possible

with an explanation stating why production of the remainder is not possible.

       8.       Each draft or copy of a requested document that is not identical to the original,

including drafts or copies with handwritten notes thereon, shall be produced.

       9.       To the extent that a document requested is responsive to more than one specific

Request, You need produce the document only once.

       10.      Each responsive document shall be produced as it is kept in the ordinary course of

business, or as otherwise agreed upon by the parties or specified by the Court.

       11.      All documents produced in response to these Requests shall be Bates stamped or

otherwise marked in sequential order.

       12.      Electronically stored information (ESI) must be produced in its original native

format including its accompanying metadata and in accordance with an ESI protocol agreed-

upon by the parties.




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       13.     If You object to any Request, state with specificity the grounds for such objection

and the Request or Requests to which each objection applies. Any Request to which an

objection is made should be responded to insofar as it is not deemed objectionable.

       14.     If You believe that any Request, Definition, or Instruction is ambiguous, in whole

or in part, You nonetheless must respond and (i) set forth the matter deemed ambiguous and

(ii) describe the manner in which You construed the Request in order to frame Your response.

       15.     If there are no documents responsive to a particular Request, please provide a

written response so stating.

       16.     To the extent necessary to bring within the scope of the Requests contained herein

any information that might otherwise be construed to be outside of their scope, the following

rules of construction apply: (a) the masculine, feminine, or neuter pronoun shall not exclude

other genders; (b) the word “including” shall be read to mean including without limitation; (c)

the present tense shall be construed to include the past tense and vice versa; (d) references to

directors, partners, officers, employees, trustees, agents, auditors, attorneys, or any other persons

shall include both current and former directors, partners, officers, employees, trustees, agents,

auditors, attorneys, or any other persons; (e) the use of the singular form of any word includes

the plural and vice versa; (f) the terms “any,” “all,” and “each” shall be read to mean any, all,

each, and every; and (g) the connectives “and” and “or” shall be construed either disjunctively or

conjunctively as necessary to bring within the scope of these Requests any information that

might otherwise be considered to be outside of their scope.

       17.     The Plaintiffs do not waive, but rather preserve, any objections to the use or

introduction of evidence at trial or any other stage of this Action on any subjects covered by

these Requests.




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                                   DOCUMENT REQUESTS

       1.      All documents and communications with any person at any time concerning the

Neuroscientist Plaintiffs’ CP, the Neuroscientist Plaintiffs’ supplemental submissions to the

FDA, the Plaintiffs’ Website, or any materials posted on the Plaintiffs’ Website.

       2.      All documents and communications with any person at any time concerning

Adrian Heilbut, Jesse Brodkin, Enea Milioris, Patrick Markey, David Bredt, Geoffrey Pitt,

Quintessential Capital Management, or Gabriele Grego.

       3.      All documents and communications with any person during the Relevant Time

Period concerning any other individual critic of simufilam, SavaDX, Cassava, Dr. Hoau-Yan

Wang, or the Individual Defendants, except for such documents or communications wholly

unrelated to such person’s criticism of simufilam, SavaDX, Cassava, Dr. Hoau-Yan Wang, or the

Individual Defendants.

       4.      All documents and communications with any person during the Relevant Time

Period concerning Cassava’s public relations or media strategies, plans, or campaigns relating to

simufilam or SavaDX, including any strategies, plans, or campaigns concerning allegations of

data manipulation or fabrication against Dr. Hoau-Yan Wang or Defendants.

       5.      All documents and communications with any person during the Relevant Time

Period concerning any effort to coordinate, suppress, encourage, shape, or influence public

participation, public debate, media coverage, or scientific discourse related to simufilam,

SavaDX, Defendants, Dr. Hoau-Yan Wang, the Neuroscientist Plaintiffs, or Plaintiffs.

       6.      All documents and communications with any person during the Relevant Time

Period concerning any media inquiries or media coverage related to allegations of data

manipulation or fabrication against Dr. Hoau-Yan Wang or Defendants, including any




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documents and communications related to articles published by Science, The New York Times,

The Wall Street Journal, or Reuters.

       7.      All documents and communications with any person during the Relevant Time

Period concerning any dialogue on social media or other online fora related to simufilam,

SavaDX, Dr. Hoau-Yan Wang, the Neuroscientist Plaintiffs or Plaintiffs.

       8.      All documents, reports, and communications with any person at any time

concerning any audit, review, inspection, or investigation of Dr. Hoau-Yan Wang or his

laboratory at CUNY, including (i) Cassava’s internal audit in 2022 (see FAC ¶ 136.a); (ii) the

FDA’s inspection in 2022 (see FAC ¶ 136.c); and (iii) CUNY’s investigation (see FAC ¶ 136.d).

       9.      All policies, contracts, or agreements with or concerning CUNY or Dr. Hoau-Yan

Wang from any time period, including any policies, contracts, or agreements related to the

ownership of (or access to) data or research about simufilam or SavaDX.

       10.     All documents and communications with any person at any time concerning any

actual or alleged errors, anomalies, or signs of data manipulation (or fabrication) relating to any

research about simufilam or SavaDX or any other research by Dr. Hoau-Yan Wang or Dr.

Lindsay Burns.

       11.     All communications with scientific journals at any time concerning any actual or

proposed erratum, expression of concern, or retraction relating to any research about simufilam

or SavaDX or any other research by Dr. Hoau-Yan Wang or Dr. Lindsay Burns.

       12.     All documents and communications during the Relevant Time Period with or

about Mark Johnson, Matthew Nachtrab, Joe Springer, Charles Spruck, Marina Picciotto, Paul

Aisen, Mike Weiner, Elizabeth McNally, Sarah Jackson, Rex Ahima, Sandra Rolston,




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Christopher Cabalu, Marie-Andree Roy, Anthony Daher, Darcy Aiken, Elizabeth Bik, Jari

Ylänne, Angelique Bordey, or David Calderwood.

       13.     All documents and communications with any person during the Relevant Time

Period concerning Cassava’s Scientific Advisory Board (“SAB”) and all communications with

any current or former SAB member, including Dr. Hoau-Yan Wang, Steven Arnold, Barbara

Sahakian, Jeffrey Cummings, or Trevor Robbins.

       14.     All documents and communications with any person at any time concerning the

decision to conduct a “re-do” of the biomarker analyses from the Phase 2b study of simufilam.

       15.     All documents and communications with any person at any time concerning any

manuscripts or other scientific journal submissions related to the Phase 2b study of simufilam,

including any editorial responses or peer reviews.

       16.     All documents and communications with any person at any time concerning the

End-of-Phase 2 or EOP2 meeting with the FDA for simufilam (see Defamation Action, Dkt. 124-

14), including any meeting notes or summaries.

       17.     All documents and communications with any person at any time concerning any

research that Cassava claimed to provide “independent” confirmation of the science

underpinning simufilam, including the studies by Yale University, the University of Milan, and

the Cochin Institute (see Defamation Action, Dkt. 120, ¶¶ 113-121).

       18.     All documents and communications cited or referenced in (i) any pleading in this

Action; (ii) the SEC’s Complaint against Defendants (SEC v. Cassava Sciences, Inc., et al., No.

24-cv-1150 (W.D. Tex. Sept. 26, 2024) at Dkts. 1 and 2-1); (iii) the SEC’s Order Instituting

Cease and Desist Proceedings against Dr. Hoau-Yan Wang (In the Matter of Hoau-Yan Wang,




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File No. 3-22210 (SEC Sept. 26, 2024)); or (iv) the DOJ’s Indictment against Dr. Hoau-Yan

Wang (U.S.A. v. Hoau-Yan Wang, No. 24-cr-211-TDC (D. Md. June 27, 2024) at Dkt. 1).

       19.       All documents and communications produced to the SEC, DOJ, or plaintiffs in the

Securities Action, and all records (inclusive of transcripts, exhibits, and videos) of any witness

interviews or depositions conducted in the Securities Action, SEC investigation, or DOJ

investigation.

       20.       All documents and communications concerning Your decision and attempts to

issue and pursue third-party subpoenas on the Plaintiffs and Neuroscientist Plaintiffs in the

Securities Action.

       21.       Documents sufficient to show the conclusions of any internal investigation,

review, or audit concerning simufilam, SavaDX, Dr. Hoau-Yan Wang, or the Individual

Defendants, as well as documents sufficient to show the factual bases of such conclusions.

       22.       Documents sufficient to show all reasons for the termination of Dr. Lindsay

Burns’s and Remi Barbier’s employment at Cassava.

       23.       All documents and communications with any person concerning the Defamation

Action, including all documents purporting to show the factual bases for the claims asserted in

the Defamation Action and all documents purporting to show the factual bases for any decision

to commence, continue, or end the Defamation Action.

       24.       Any document retention policies, information security and information

technology policies, or backup policies and procedures, and any contracts or agreements with

third-party information technology or data management vendors related to such policies or

procedures.




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         25.   All documents and communications concerning Your compliance or

noncompliance with Your document retention, management, and destruction policies insofar as

such compliance or noncompliance concerns or potentially concerns documents sought by these

Requests.

         26.   To the extent not otherwise produced, all documents and communications

required to be disclosed or produced in Your initial disclosures under FRCP 26(a)(1).

         27.   All documents and communications with any person at any time concerning this

Action or any allegation, claim or defense therein.

         28.   All documents and communications with any person at any time concerning any

discoverable information relevant to this Action that has not been produced in response to any of

the Requests set forth above.


Dated:    January 13, 2025
          New York, New York
                                                      CLARICK GUERON REISBAUM LLP

                                                      By: /s/ Isaac B. Zaur

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